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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                                   Order

                                v.                                                 20 Cr. 21 (CS)

 GRAFTON E. THOMAS,


                 Defendant.



       Upon the application of the United States of America, and with the consent of the

defendant, the Court hereby finds and orders as follows:

       According to the examination and evaluation of the defendant by personnel for the Bureau

of Prisons, the defendant is presently incompetent to stand trial, and there is no substantial

probability that in the foreseeable future the defendant will attain the capacity to permit the

proceedings to go forward, in accordance with 18 U.S.C. § 4241(d);

       IT IS THEREFORE ORDERED that the defendant shall continue to be committed to the

custody of the Attorney General, or his authorized representative, who shall continue to hospitalize

the defendant for treatment and evaluation at a Bureau of Prisons Medical Center pursuant to 18

U.S.C. § 4246;

       IT IS FURTHER ORDERED that personnel at the designated Bureau of Prisons Medical

Center shall evaluate the defendant pursuant to 18 U.S.C. § 4246 to determine if the defendant is

presently suffering from a mental disease or defect as a result of which, should the defendant be

released from custody, his release would create a substantial risk of bodily injury to another person

or serious damage to property of another;
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       IT IS FURTHER ORDERED that the responsible examining physician shall prepare a

report containing the results of the evaluation described above and transmit that report to the Court,

the defendant’s attorney, and attorneys for the Government by May 24, 2021; and

       IT IS FURTHER ORDERED that time under the Speedy Trial Act be excluded until May

24, 2021 to permit the examination and determination relating to the mental competency of the

defendant ordered herein to proceed, pursuant to 18 U.S.C. § 3161(h)(1)(A).


SO ORDERED:

Dated: New York, New York
       April __,
              9 2021


                                                      _________________________________
                                                      THE HONORABLE CATHY SEIBEL
                                                      UNITED STATES DISTRICT JUDGE




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